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 Potash Statistics and Information
 By National Minerals Information Center

    Statistics and information on the worldwide supply of, demand for,
    and flow of the mineral commodity potash




    Potash is used primarily as an agricultural fertilizer (plant nutrient) because it is a
    source of soluble potassium, one of the three primary plant nutrients; the others are
    fixed nitrogen and soluble phosphorus. Potash and phosphorus are mined products, and
    fixed nitrogen is produced from the atmosphere by using industrial processes. Modern
    agricultural practice uses these primary nutrients in large amounts plus additional
    nutrients, such as boron, calcium, chlorine, copper, iron, magnesium, manganese,
    molybdenum, sulfur, and zinc, to assure plant health and proper maturation. The three
    major plant nutrients have no substitutes, but low nutrient content, alternative sources
    of plant nutrients, such as animal manure and guano, bone meal, compost, glauconite,
    and "tankage" from slaughterhouses, can be used. Potash denotes a variety of mined
    and manufactured salts, all containing the element potassium in water soluble form.

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           Potash
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                 Potash
           Potash--A Global Overview of Evaporite-Related Potash Resources, Including
           Spatial Databases of Deposits, Occurrences, and Permissive Tracts
           Potash A Vital Agricultural Nutrient Sourced from Geologic Deposits
           Open-File Report 2016-1167
           Technical Announcement: Plenty of Potash, but Some Regions Lack Low Cost
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MILESTONES: 1969–1976


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Nixon and the End of the Bretton Woods System, 1971–1973
On August 15, 1971, President Richard M. Nixon announced his New Economic Policy, a program “to create a new
prosperity without war.” Known colloquially as the “Nixon shock,” the initiative marked the beginning of the end for the
Bretton Woods system of fixed exchange rates established at the end of World War II.




Secretary of the Treasury John Connally on the day that President Richard Nixon announced his New Economic Policy, August 15, 1971.
(Nixon Presidential Library)
Under the Bretton Woods system, the external values of foreign currencies were fixed in relation to the U.S. dollar, whose
value was in turn expressed in gold at the congressionally-set price of $35 per ounce. By the 1960s, a surplus of U.S.
dollars caused by foreign aid, military spending, and foreign investment threatened this system, as the United States did
not have enough gold to cover the volume of dollars in worldwide circulation at the rate of $35 per ounce; as a result, the
dollar was overvalued. Presidents John F. Kennedy and Lyndon B. Johnson adopted a series of measures to support the
dollar and sustain Bretton Woods: foreign investment disincentives; restrictions on foreign lending; efforts to stem the

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official outflow of dollars; international monetary reform; and cooperation with other countries. Nothing worked.
Meanwhile, traders in foreign exchange markets, believing that the dollar’s overvaluation would one day compel the U.S.
government to devalue it, proved increasingly inclined to sell dollars. This resulted in periodic runs on the dollar.
It was just such a run on the dollar, along with mounting evidence that the overvalued dollar was undermining the
nation’s foreign trading position, which prompted President Richard M. Nixon to act. On August 13, 1971, Nixon
convened a meeting of his top economic advisers, including Secretary of the Treasury John Connally and Office of
Management and Budget Director George Shultz, at the Camp David presidential retreat to consider a program of action.
Notably absent from the meeting were Secretary of State William Rogers and President’s Assistant for National Security
Affairs Henry Kissinger. After two days of talks, on the evening of August 15, Nixon announced his New Economic Policy
in an address to the nation on “The Challenge of Peace.” Asserting that progress in bringing an end to U.S. involvement
in the war in Vietnam meant that it was time for Americans to turn their minds to the challenges of a post-Vietnam
world, Nixon identified a three-fold task: “We must create more and better jobs; we must stop the rise in the cost of
living; we must protect the dollar from the attacks of international money speculators.” To achieve the first two goals, he
proposed tax cuts and a 90-day freeze on prices and wages; to achieve the third, Nixon directed the suspension of the
dollar’s convertibility into gold. He also ordered that an extra 10 percent tariff be levied on all dutiable imports; like the
suspension of the dollar’s gold convertibility, this measure was intended to induce the United States’ major trading
partners to adjust the value of their currencies upward and the level of their trade barriers downward so as to allow for
more imports from the United States.
A success at home, Nixon’s speech shocked many abroad, who saw it as an act of worrisome unilateralism; the assertive
manner in which Connally conducted the ensuing exchange rate negotiations with his foreign counterparts did little to
allay such concerns. Nevertheless, after months of negotiations, the Group of Ten (G–10) industrialized democracies
agreed to a new set of fixed exchange rates centered on a devalued dollar in the December 1971 Smithsonian Agreement.
Although characterized by Nixon as “the most significant monetary agreement in the history of the world,” the
exchange rates established in the Smithsonian Agreement did not last long. Fifteen months later, in February 1973,
speculative market pressure led to a further devaluation of the dollar and another set of exchange parities. Several weeks
later, the dollar was yet again subjected to heavy pressure in financial markets; however, this time there would be no
attempt to shore up Bretton Woods. In March 1973, the G–10 approved an arrangement wherein six members of the
European Community tied their currencies together and jointly floated against the U.S. dollar, a decision that effectively
signaled the abandonment of the Bretton Woods fixed exchange rate system in favor of the current system of floating
exchange rates.




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